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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

Inre: Oil Spill by the Oil Rig * MDL No. 2179
“Deepwater Horizon” in the *
Gulf of Mexico, on April 20, 2010 + SECTION “J”
*
THIS PLEADING APPLIES TO: * JUDGE: BARBIER
*
In Re The Complaint and Petition of * MAGISTRATE: SHUSHAN
Triton Asset Leasing GmbH, Transocean *
Holdings LLC, Transocean Offshore *
Deepwater Drilling Inc., and Transocean *
Deepwater Inc., as Owner, Managing *
Owners, Owners Pro-Hac Vice, and/or *
Operators of the MODU Deepwater x
Horizon, in a Cause for Exoneration from or *
Limitation of Liability *
*
Civil Action Nos.: *
2:10-cv-2771 and 10-cv-2179 *
ORDER

Considering the foregoing Ex Parte, Unopposed Motion to Voluntarily Dismiss
Weatherford’s Counter-Claim/Cross-Claim against MOEX Offshore 2007 LLC filed by
Weatherford U.S. LP and Weatherford International, Inc.:

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Counter-

Claim/Cross-Claim of Weatherford U.S. L.P. and Weatherford International, Inc. (Rec. Doc.

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2484), be and is hereby dismissed, without prejudice, with each party to bear its respective costs
of court and attorneys’ fees.

New Orleans, Louisiana, this day of , 2011.

UNITED STATES DISTRICT COURT JUDGE

{N2312641.1}
